               Case 18-23941-RAM         Doc 36     Filed 02/25/19    Page 1 of 3




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov
In re:

SAM INDUSTRIAS S.A.;                                        Chapter 15
BOULDER PARTICIPAÇÕES LTDA; and
DANIEL BENASAYAG BIRMANN                                    Case No.: 18−23941−RAM

      Debtors in a Foreign Proceeding.
___________________________________/

          FOREIGN REPRESENTATIVE’S MOTION TO LIFT THE STAY
         CREATED BY BIRMANN’S MOTION FOR PROTECTIVE ORDER
   [ECF NO. 14], AS TO CBC AMMO LLC AND CBC GLOBAL AMMUNITION LLC

         Carlos Magno, Nery e Medeiros Sociedade de Advogados, the judicial administrator of

the foreign bankruptcy estate (“Foreign Representative”) of SAM Industrias S.A., Boulder

Participacoes Ltda., and Daniel Birmann (“Birmann”), pursuant to Bankruptcy Rule 2004 and

Local Rule 2004-1(C), hereby files this motion (the “Motion”) to lift the stay created by

Birmann’s Motion for Limited Protective Order [ECF No. 14] (“Birmann’s Motion”). In support

thereof, the Foreign Representative states as follows:

         1.    Under Local Rule 2004-1(C), “An interested party may file … a motion for

protective order … and the examination shall be stayed until the court rules on the motion.”

         2.    Here, Daniel Birmann has filed a motion for protective order against subpoenas

issued by the Foreign Representative for information relating to entities in which Birmann does

not claim an interest. Two of the subpoenas at issue were directed to CBC Ammo LLC (“CBC

Ammo”) and CBC Global Ammunition LLC (“CBC Global”). See ECF Nos. 15 and 16. These

entities have counsel in this case, attended the February 13, 2019 hearing on Birmann’s Motion,

and had previously agreed to make a rolling production of non-objectionable documents.




                                                    1
              Case 18-23941-RAM          Doc 36    Filed 02/25/19     Page 2 of 3




       3.        On January 22, 2019, CBC Ammo and CBC Global served their objections and

responses to the subpoenas directed at them. Those responses included a statement that “subject

to, limited by, and without waiver of its general and specific objections [the subpoena recipient]

will produce non-privileged, responsive documents” for almost all of the categories of

documents requested. However, after the February 13 hearing on Birmann’s Motion, counsel for

CBC Ammo and CBC Global informed the undersigned that they will not produce any

documents until this Court rules on Birmann’s Motion, while also reserving the right to have

disputed discovery issues heard either by this Court or by the Bankruptcy Court for the District

of New Jersey.

       4.        The Foreign Representative seeks to reduce delays and have the looming

discovery dispute heard by the appropriate court, whether here or in New Jersey, as expeditiously

as possible. For this reason, the Foreign Representative moves the Court for an order lifting the

stay created by the filing of Birmann’s Motion.

       WHEREFORE, the Foreign Representative respectfully requests that this Court lift the

stay applicable to the CBC Ammo and CBC Global Subpoenas and order the subpoena recipients

to produce all responsive documents within 10 days of such order.

Dated: February 25, 2019                            Respectfully submitted,

                                                    SEQUOR LAW, P.A.
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                Case 18-23941-RAM          Doc 36      Filed 02/25/19    Page 3 of 3




                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 25, 2019, a true and correct copy of the
foregoing was filed and sent via electronic filing using the CM/ECF system with the Clerk of the
Court which sent e-mail notification of such filing to all CM/ECF participants in this case and
via e-mail to the parties on the Service List below.
                                                              /s/ Nyana Abreu Miller
                                                              Nyana Abreu Miller


                                             SERVICE LIST

Electronic Mail Notice List
The following is the list of parties who are currently on the list to receive email notice/service for
this case.

Luis R Casas on behalf of Interested Party Daniel Birmann
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Manual Notice List
(No manual recipients)

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